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                                      UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON – PORTLAND DIVISION


 DANIEL MILLS, an individual                                                        No.
               Plaintiff,
                                                                                    DEFENDANT STILLWATER
 vs.                                                                                PROPERTY & CASUALTY
                                                                                    INSURANCE COMPANY’S
                                                                                    NOTICE OF REMOVAL
 STILLWATER PROPERTY & CASUALTY                                                     PURSUANT TO 28 U.S.C. §
 INSURANCE COMPANY, a foreign corporation,                                          1441(a)

               Defendant.



TO:                       The Clerk of the United States District Court for the District of Oregon – Portland
                          Division.

AND TO:                   Plaintiff, Daniel Mills, and his counsel of record, Andrew C. Lauersdorf.

             Please take notice that Defendant STILLWATER PROPERTY & CASUALTY

INSURANCE COMPANY (hereinafter “Stillwater”), hereby removes to this Court the action as

described below:

                                                       I.           THE SUBJECT ACTION

             On September 22, 2015, Plaintiff filed a Complaint against Stillwater as a Defendant in

the Multnomah County Circuit Court of the State of Oregon under Cause No. 15-CV-25206,


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alleging damages stemming from a denial of insurance benefits under an insurance policy issued

to Plaintiff. A true and correct copy of the Complaint is attached hereto as Exhibit 1. This

action is based on an insurance coverage dispute. Plaintiff alleges contractual rights and rights in

tort against Stillwater based on claims for coverage relating to events that transpired on

December 1, 2014 in Multnomah County, Oregon.

             The Complaint alleges that the Plaintiff is an individual residing in Oregon, and that the

property insured by the insurance policy issued to Plaintiff is located in the State of Oregon. Ex.

1 ¶ 1.

             The Complaint further alleges that Defendant Stillwater Property & Casualty Insurance

Company is a corporation domiciled in the State of Florida. Ex. 1 ¶ 2.

             The Complaint in-turn claims that Stillwater is authorized to conduct business in the State

of Oregon, and regularly conducts business in Multnomah County, Oregon. Ex. 1 ¶ 2.

                                                II.           DIVERSITY OF CITIZENSHIP

             In his Complaint, Plaintiff identifies himself as “a resident of Oregon and owner of real

and personal property located at 7916 N Clarendon Avenue, Portland Oregon” for purposes of

diversity under 28 U.S.C. § 1332. Ex. 1 ¶ 1.

             Stillwater Property & Casualty Insurance Company organized under the laws of the State

of New York and with a principal place of business in the State of Florida. For purposes of

diversity under 28 U.S.C. § 1332, Stillwater is both a citizen of the State of New York and the

State of Florida.

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                                                III.          AMOUNT IN CONTROVERSY

             Plaintiff alleges in his Complaint that “on Plaintiff’s first claim for relief, [he claims]

damages in an amount not less than $79,480” as a result of the alleged breach of contract by

Stillwater. Ex 1 ¶ 17.1.

             Plaintiff has also asserted a claim for negligence (e.g. breach of the implied covenant of

good faith and fair dealing). Ex. 1 ¶ 14. In regard to the negligence claim, Plaintiff alleges that

he is entitled to additional damages in an amount not less than $79,480. Ex. 1 ¶¶ 10, 16.

             Plaintiff further alleges that he is entitled to an unspecified amount of attorney fees. Ex.

1 ¶ 17.3. Consequently, based upon Plaintiff’s Complaint, Plaintiff seeks recovery in excess of

$75,000. Ex. 1.

             The jurisdictional minimum may be satisfied by claims of general and specific damages,

attorneys’ fees, and punitive damages. Kroske v. US Bank Corp., 432 f.3d 976, 980 (9th Cir.

2005); Gibson v. Chrysler Corp., 267 F.3d 927, 946 (9th Cir. 2001); Galt G/S v. JSS Scandinavia,

142 F.3d 1150, 1155-1156 (9th Cir. 1998).

             All damages claimed by Plaintiff are in controversy in this action based upon existing

insurance coverage issues.

             Based on the claims for damages set forth above, the amount in controversy clearly

exceeds the $75,000.00 jurisdictional threshold.

                                                               IV.            JURISDICTION

             For purposes of determining jurisdiction under 28 U.S.C. § 1332, Stillwater is a citizen of

the State of Florida. Plaintiff is a citizen of the State of Oregon. As a result, diversity is

complete.

             The amount in controversy exceeds $75,000.00 excluding interest and costs.


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             This Court, therefore, has original jurisdiction over this controversy under 28 U.S.C. §

1332 and 28 U.S.C. § 1441.

                                                                 V.           TIMELINESS

             Plaintiff filed the original Summons and Complaint on September 22, 2015.                                         CT

Corporation System accepted service on September 29, 2015, on behalf of Defendant Stillwater

Property & Casualty Insurance Company. Defendant filed this Notice of Removal on October

20th, 2015. Accordingly, Defendant is entitled to remove this action and this Notice of Removal

is timely pursuant to and in accordance with 28 U.S.C. § 1446.

    VI.          COPIES OF PROCESS, PLEADINGS, ORDERS, AND MOTIONS IN STATE
                                 COURT PROCEEDINGS

             In accordance with 28 U.S.C. § 1446, attached to this notice as Exhibits 1 through 4 are

true and correct copies of the pleadings and documents in the Circuit Court of the State of

Oregon docket as of the date of this filing. These documents are:

                          Exhibit 1: Plaintiff’s Complaint Action on an Insurance Policy (ORS 742.061).

                          Exhibit 2: Summons

                          Exhibit 3: Proof of Service

                          Exhibit 4: Defendant's Notice of Removal

             DATED this 20th day of October, 2015.


                                                                              /s/ Thomas Lether
                                                                              Thomas Lether, OSB #101708
                                                                              1848 Westlake Ave N., Suite 100
                                                                              Seattle, WA 98109
                                                                              Telephone: (206) 467-5444
                                                                              Facsimile: (206) 467-5544
                                                                              tlether@letherlaw.com
                                                                              Attorneys for Defendant Stillwater Property &
                                                                              Casualty Insurance Company


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                                                         CERTIFICATE OF SERVICE

             The undersigned hereby certifies under penalty of perjury under the laws of the State of

Oregon that, on this date, I caused to be served in the manner noted below, a true and correct

copy of the foregoing on the parties mentioned below as indicated below:


             Andrew C. Lauersdorf
             1111 E. Burnside St., Suite 300
             Portland, Oregon 97214
             T: 503.245.1535
             F: 503.245.1417
             acl@coveragelit.com


             [X] ECF                   [X]           Via Email                [ ] US Mail        [   ]   Legal Messenger

             DATED this 20th day of October, 2015.

                                                                                  /s/ Andrei Teretchenko
                                                                                  Andrei Teretchenko, Paralegal




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